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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF CONNECTICUT


JOSEPH VELLALI et al.,

Plaintiffs,                                      No. 3:16-cv-01345-AWT

v.
                                                 Hon. Alvin W. Thompson
YALE UNIVERSITY et al.,

Defendants.


      PLAINTIFFS’ MOTION FOR LEAVE TO FILE A RESPONSE TO
         DEFENDANTS’ SUPPLEMENTAL BRIEF REGARDING
           ADDITIONAL AUTHORITY SUPPORTING THEIR
               MOTION FOR SUMMARY JUDGEMENT

      Plaintiffs seek leave to respond to Defendants’ supplement brief claiming

Hughes v. Northwestern University, 595 U.S. ___, No. 19-1401 (Jan. 24, 2022),

supports summary judgment. Doc. 394-1. As set forth in Plaintiffs’ proposed

response, Hughes, which vacated an order of dismissal in a similar case and rejected

the investor choice reasoning Defendants rely upon, supports denial of Defendants’

motion for summary judgment. Additionally, a response is needed to correct

misstatements of the record in Defendants’ supplemental brief. For these reasons,

Plaintiffs seek leave to file the attached response to Defendants’ supplemental brief.




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Dated: February 4, 2022             Respectfully Submitted,

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                           CERTIFICATE OF SERVICE

      I certify that on February 4, 2022, a copy of foregoing was filed electronically
using the Court’s CM/ECF system, which will provide notice of the filing to all
counsel of record.


                                               By: /s/ Joel D. Rohlf




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